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 1   LAW OFFICES OF JOHNNY L. GRIFFIN III
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 4
     Attorneys for Defendant
 5   LAKHVINDER SINGH
 6                      IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                     )   Case No. CR.S-07-570-FCD
                                                   )
 9                 Plaintiff,                      )   STIPULATION AND ORDER TO
                                                   )   CONTINUE CHANGE OF PLEA
10          vs.                                    )   HEARING
                                                   )
11   LAKHVINDER SINGH, et al                       )   Date: April, 26 2010
                                                   )   Time: 10:00 a.m.
12                 Defendant.                      )
                                                   )   Hon. Frank. C. Damrell
13                                                 )
14
            Defendants, by and through their undersigned counsel, and the United States of
15
     America, through Assistant United States Attorney Heiko Coppola, hereby agree and
16
     stipulate to continue the change of plea hearing in the above captioned case from April
17
     26, 2010 to May 3, 2010 at 10:00 a.m.1. This continuance is requested because counsel
18

19   for defense needs additional time to review the terms and conditions of the final plea

20   agreement. The parties further stipulate and request that the Court exclude time within
21
     which the trial must commence under the Speedy Trial Act from April 26, 2010 to May
22
     3, 2010 under 18 U.S. C. § 3161(h)(7)(B)(iv) and for defense preparation (Local Code
23
     T4). Additionally, the parties stipulate and agree that the interests of justice served by
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25
     1
      The parties have been advised by this Court’s Clerk that May 3, 2010 at 10:00 a.m. is an
     available date and time for a change of plea hearing on this matter.

                                                                      Law Offices of Johnny L. Griffin III
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                                                                           Sacramento, CA 95814
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 1   granting this continuance outweigh the best interests of the defendant and the public in a
 2
     speedy trial. 18 U.S.C. 3161(h)(7)(A)
 3
             Dated: April 22, 2010                        Respectfully submitted,
 4
                                                          /s/ Heiko Coppola2
 5                                                        Heiko Coppola
                                                          Assistant U.S. Attorney
 6

 7           Dated: April 22, 2010                         /s/ Johnny L. Griffin, III
                                                          JOHNNY L. GRIFFIN, III
 8                                                        Attorney for Defendant
                                                          Lakhvinder Singh
 9

10
             Dated: April 22, 2010                       /s/ William E. Bonham3
                                                          WILLIAM E. BONHAM
11                                                         Attorney for Defendant
                                                          John Wayne Conn
12

13

14                                                        ORDER

15
             Based on the stipulation of the parties and good cause apparent therein, the Court

16   hereby vacates the April 26, 2010 change of plea hearing and resets the change of plea

17   hearing for May 3, 2010. Time is excluded between April 26, 2010 and May 3, 2010
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     pursuant to 18 U.S.C. 3161(h)(7)(B)(iv) and Local Code T-4.
19
             The Court hereby finds that the failure to grant a continuance in this case would
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     deny Defendants counsel reasonable time necessary for effective preparation, taking
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22   into account the exercise of due diligence.

23           The Court specifically finds that the ends of justice are served by the
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     2
       Assistant United States Attorney Heiko Coppula telephonically authorized attorney Johnny L. Griffin, III to sign
25   this Stipulation on his behalf.
     3
       Attorney William E. Bonham telephonically authorized attorney Johnny L. Griffin, III to sign this Stipulation on
     his behalf.


                                                                                    Law Offices of Johnny L. Griffin III
                                                                                         1010 F Street, Suite 200
                                                                                         Sacramento, CA 95814
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 1   granting of such continuance outweigh the best interests of the public and the
 2
     Defendants’ in a speedy trial. Based on these findings and pursuant to the stipulation of
 3
     the parties, the Court hereby adopts the stipulation of the parties in its entirety as its
 4
     order.
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 6            IT IS SO ORDERED.

 7   DATED: April 22, 2010                     _______________________________________
                                               FRANK C. DAMRELL, JR.
 8                                             UNITED STATES DISTRICT JUDGE

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                                                                       Law Offices of Johnny L. Griffin III
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